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                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                      BY: ___________________ DEPUTY




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                          CASE NUMBER 2:21-cr-00379-VAP
                              PLAINTIFF
                                                   CR
                       v.
FONTRELL ANTONIO BAINES,
                                                             NOTICE TO COURT OF
                              DEFENDANT(S)                 RELATED CRIMINAL CASE

                                                    (PURSUANT TO GENERAL ORDER 14-03)


       Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to:


       United States v. Fontrell Antonio Baines, CR 20-522-MWF, which:

               x    was previously assigned to the Honorable Michael W. Fitzgerald;

                   has not been previously assigned.

The above-entitled cases may be related for the following reasons:
                  the cases arise out of the same conspiracy, common scheme, transaction,
                  series of transactions or events;

           x       the cases involve one or more defendants in common and would entail
                   substantial duplication of labor in pretrial, trial or sentencing proceedings if
                   heard by different judges.

        Additional explanation (if any): The alleged firearm offense occurred during the course
of this defendant’s arrest for the offenses charged in CR No. 20-522-MWF

Dated: August 17, 2021
                                                       RANEE A. KATZENSTEIN
                                                       ALEXANDER B. SCHWAB
                                                       Assistant United States Attorneys
